                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF ALABAMA
                                    NORTHERN DIVISION

In the Matter of:                                                § BK CASE NO. 18-82774-CRJ-13
                                                                 §
LINDA HILL                                                       § CHAPTER 13
SSN: XXX-XX-0768                                                 §
                                                                 §
        Debtor                                                   §
                                                                 §

LINDA HILL                        § AP CASE NO. 19-80011-CRJ-13
                                  §
    Plaintiff,                    §
                                  §
v.                                §
                                  §
BANK OF AMERICA and               §
CARRINGTON MORTGAGE SERVICES, LLC §
                                  §
    Defendants.                   §


                  DEFENDANT'S RESPONSE TO ORDER TO SHOW CAUSE

        BANK OF AMERICA N.A. (“BANA”), by and through undersigned counsel, hereby files

this response to the Court’s Order to Show Cause dated May 7, 2019 [ECF No. 30] (the “Order”). 1

                                              INTRODUCTION

        BANA does not contest this Court’s authority to enter an order awarding punitive damages

pursuant to 11 U.S.C. §362(k) of the Bankruptcy Code if the Plaintiff meets her burden of proving

that she was injured by a willful violation of the automatic stay by BANA. Contemporaneously

with the filing of this response, BANA is filing an Amended Answer to Debtor's Amended

Complaint (the “Amended Answer”). In its Amended Answer, BANA has either omitted or



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 At the time of the filing of the answers which are the subject of the Court’s Order, BANA was represented by current
counsel for Carrington. However, prior to the entry of the Order, the Court granted a Joint Motion to Substitute
Counsel [ECF No. 25] which allowed Kevin C. Gray to be substituted for Christopher A. Bottcher and Michael B.
Odom as counsel for BANA.




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amended Affirmative Defenses 12 through 40 in ECF No. 19 in an effort to make clear that it is

not challenging this Court’s authority to enter an order awarding punitive damages if the Plaintiff

meets her burden of proof and that BANA is entitled to certain Constitutional protections in the

event punitive damages are awarded. The relevant defenses in the Amended Answer are

Affirmative Defenses 12 through 16.

                                           DISCUSSION

1.     Defendants' Answer Was Filed in Good Faith

       When the counsel for BANA filed the Answer to Debtor's Amended Complaint [ECF No.

19] on behalf of both Defendants and omitted the Forty-First Affirmative Defense, it was done

with the intention of withdrawing any claim that the Court lacked the authority to enter an order

awarding punitive damages. Affirmative Defenses 12 through 40 in ECF No. 19 were intended

only to raise and maintain Constitutional safeguards relating to punitive damages that have been

recognized by the courts, and will be discussed below, and were not meant as an extension of the

omitted Forty-First Affirmative Defense.

2.     Affirmative Defenses 12-40 Were Warranted by Existing Law

       Affirmative Defenses 12 through 40 in ECF No. 19 were intended only to raise defenses

related to recognized Constitutional safeguards pertaining to the appropriateness of the award of

punitive damages in a particular case based on the facts, and not to challenge this Court's authority

to award punitive damages. It is widely recognized that in determining whether a punitive damage

award is appropriate, courts should apply the “guideposts” posited by the Supreme Court in BMW

of N. Amer., Inc. v. Gore, 517 U.S. 559, 134 L. Ed. 2d 809, 116 S. Ct. 1589 (1996). See, e.g., In

re Quinones Ocasio, 272 B.R. 815, 825 (2002). Pursuant to the guideposts, a court reviewing the

appropriateness of a punitive damages award must evaluate the reprehensibility of the conduct; the



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ratio between the compensatory and punitive damages; and the difference between the punitive

damage award and the civil penalties imposed for comparable conduct.

       In addition, the United States District Court for the Middle District of Alabama has

recognized that an award of punitive damages may be excessive and potentially in violation of the

Fourteenth Amendment of the United States Constitution. In Cent. Miss. Credit Corp. v. Vaughn,

555 B.R. 803 (2016), the District Court vacated an award of punitive damages of $50,000.00 where

actual compensatory damages were only $1,500.00. In doing so, the District Court recognized:

       The amount of punitive damages a court may award, however, is limited by the Due
       Process Clause of the Fourteenth Amendment, which prohibits "grossly excessive
       or arbitrary punishments," and the Supreme Court has advised reviewing courts, in
       determining whether punitive damages are excessive, to consider, "(1) the degree
       of reprehensibility of the defendant's misconduct; (2) the disparity between the
       actual or potential harm suffered by the plaintiff and the punitive damages awarded;
       and (3) the difference between the punitive damages awarded . . . and the civil
       penalties authorized or imposed in comparable cases."

555 B.R. 803 at 816-17 (quoting State Farm Mut. Auto Ins. Co. v. Campbell, 538 U.S. 408, 416,

123 S. Ct. 1513, 155 L. Ed. 2d 585 (2003).

       Affirmative Defenses 12 through 40 in ECF No. 19 were asserted in good faith to protect

the Defendants’ Constitutional rights as set forth in the cases cited above.

                                         CONCLUSION

       By omitting the Forty-First Affirmative Defense from ECF No. 19, the counsel intended to

withdraw any contention that this Court lacks the authority to enter an order awarding punitive

damages. Any inference to the contrary from ECF No. 19 was not intentional. The Amended

Answer, and specifically Affirmative Defenses 12 through 16 contained therein, is intended to

make clear that BANA does not challenge this Court’s authority to award punitive damages, but

BANA does assert that it is entitled to certain Constitutional safeguards in the event punitive

damages are awarded.


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       Respectfully submitted, this 29th day of May, 2019.

                                              /s/ Kevin Gray
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                                CERTIFICATE OF SERVICE

      I hereby certify that I filed the foregoing with the Clerk of the Court electronically through
the CM/ECF system on May 29, 2019, which will send notification of this filing to the following:

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                                                     /S/ Kevin C. Gray
                                                     Of Counsel




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